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  Date Approved:         1 1/14/2022         [?xtcnsion:
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  gy;       Ma[diew O'Brien
        ❑ NSA Officer (ror' mnler'ial witness only)       AUSA

  Signature:                            D/~~'~"~
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                                                  U NITED STATES DISTRICT COUR~4~yj;;,~~ piST.OF ~.►•~ ~"
                                                 CENTRAL DISTRICT OF CALIFORNIA LEIS AtiGE-LAS~~
  UNITED STATES OF AMERICA                                                         CASE NUMBER '~Y
                                                                 PLAINTIFF.                                   2:22-CR-00482-GW

  JERRY NEHL BOYLAN
                                                                                     AFFIDAVIT OF SURETY (NO JUSTIFICATION)

                                                           DEFENDANT(S).


    I, the undersigned surety, state on oath that 1 permanently reside within the jurisdiction ofthe United States District Court
for the Central District of California at the address indicated below or in (City, State):


    I further state that I understand the provisions of the bond executed by the above-named defendant for which this affidavit
supports, and I agree to be bound as a condition of this bond by the provisions of Local Criminal Rule 46-6 as set forth at the
bottom of this document and further acknowledge and agree that I and my personal representatives are bound as a condition
of this bond, jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
$ 75,000                      in the event that the bond is forfeited.

  I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
employment of the defendant immediately upon becoming aware of such fact.

    I further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond (including any proceeding on appeal ar review) which shall continue in full force and effect until such time
as the undersigned is duly exonerated by Order of the Court.

   I declare under the penalty of perjury that the foregoing is true and correct. Executed on this                                 14th           day of
 November                       , 2p 22

    Jerry Nehl Boylan                                                                     X XX-XX-
    Name of Surety                                                                    Social Security Number of Surety (Last 4 digits only)


     Signature of Surety                                                              Address of Surety

                                    Self
     Relationship of Surety                                                           City, State, Zip Code


Locnl Criminn/Rule 46-6
    Bond - Sz~mmnr>> Adjadicntron of Obligo[ion
A bond or anderlaking presented for filing shnl/ conlnin consent ~l the princi~nl cued surely ll~n1, in ease of defnulr or conlun~ocv on [he pn~~/ of the
principn/ or siu•e~v, the Cour/, upon [en (10) days notice, mrm render n judgn~e~v! sum~narr/v in nccordnnce ivi7h the oblign~ion underinken and issue n
icri! of erecz~tion zg~on sard~ jz~clgmenr. fl~~i indemni~ee or pnrtr irr inreresl seeking n jirdgmen[ on n bond or zrnderinking shall proceed by Motion for
Smmnnry Ac~~irdicniion of Oblige[ion and Lxeci~[io~z Serrrce mar be made on n corporate sa~reN ns provided in 3/ U.S.C. ~ 9306.




cR-oa ~ o~io~>>                                       ,~F~H~i►~.a~~rr off s~~aH~~r~~ ~n~o.~~~sriFic:~~rio~~
